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                                            /s/Michael G. Gotsch, Sr.
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                                        /s/Michael G. Gotsch, Sr.
